Case 2:04-cr-20312-.]PI\/| Document 35 Filed 05/27/05 PagelofS Page|D`_A€

  

IN THE UNITED sTATEs DISTRICT cOURT Fl:.ED w "_ ad
FOR THE wEsTERN DISTRICT OF TENNESSEE 1
wEsTERN D:v:s:ON 535[\.5;@_\; 27 pie ?, 38

 

 

UNITED STATES OF AMERICA

Plaintiff,

'/?MW Z»/é/<

Criminal No. QZ`- ZDZ’?/Ml

(3 0 -Day Continuance)

 

 

 

 

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Defendant (s) .

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. 'I'he case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at w
a.m. on FridaV, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy 'I'rial Act through July 15, 2005. Agreed in open court at

report date this 27`:h day of May, 2005.

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with H\\le 55 and!or Bzib) FRCrP on

Case 2:04-cr-20312-.]PI\/| Document 35 Filed 05/27/05 Page 2 of 3 Page|D 47

SO ORDERED this 27th day of May, 2005.

Q@_ @ M> " 0le

f JO PHIPPS MCCALLA
UN ED S'I'A'I`ES DIS'I`RICT JUDGE

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Counsel for Defendant(s)

   

UNITED sTATE DISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-203 12 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Michael EdWin Scholl

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167 N. Main St.

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l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

